                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a                      §
 BRAZOS LICENSING AND                             §
 DEVELOPMENT,                                     §             CASE NO. 6:20-cv-537
                                                  §
        Plaintiff,                                §          JURY TRIAL DEMANDED
                                                  §
 v.                                               §
                                                  §
 HUAWEI TECHNOLOGIES CO., LTD.                    §
 and HUAWEI TECHNOLOGIES USA                      §
 INC.                                             §
       Defendants.                                §

                           ORIGINAL COMPLAINT FOR PATENT
                                   INFRINGEMENT

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“Brazos” or “Plaintiff”), by and through its attorneys, files this Complaint for Patent

Infringement against Defendants Huawei Technologies Co., Ltd. and Huawei Technologies

USA Inc. (collectively “Huawei” or “Defendants”) and alleges:

                                   NATURE OF THE ACTION
       1.       This is a civil action for patent infringement arising under the Patent Laws

 of the United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.




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                                           THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws

 of Delaware, with its principal place of business at 605 Austin Ave, Ste 6, Waco, TX 76701.

        3.       On information and belief, Defendant Huawei Technologies Co., Ltd. is a

 Chinese corporation that does business in Texas, directly or through intermediaries, with a

 principal place of business at Bantian, Longgang District, Shenzhen 518129, People’s

 Republic of China.

        4.       Upon information and belief, Defendant Huawei Technologies USA Inc. is a

 corporation organized and existing under the laws of Texas that maintains an established

 place of business at 2391 NE Interstate 410 Loop, San Antonio, TX 78217. Huawei

 Technologies USA, Inc. is authorized to do business in Texas and may be served via its

 registered agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

 75201-3136.

        5.       The Defendants operate under and identify with the trade name “Huawei.”

 Each of the Defendants may be referred to individually as a “Huawei Defendant” and,

 collectively, Defendants may be referred to below as “Huawei” or as the “Huawei

 Defendants.”

                              JURISDICTION AND VENUE
       6.       This is an action for patent infringement which arises under the Patent Laws

of the United States, in particular, 35 U.S.C. §§271, 281, 284, and 285.

       7.       This Court has jurisdiction over the subject matter of this action under 28

U.S.C. §§ 1331 and 1338(a).

       8.       This Court has specific and general personal jurisdiction over each Huawei

Defendant pursuant to due process and/or the Texas Long Arm Statute, because each Huawei

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Defendant has committed acts giving rise to this action within Texas and within this judicial

district. The Court’s exercise of jurisdiction over each Huawei Defendant would not offend

traditional notions of fair play and substantial justice because Huawei has established

minimum contacts with the forum. For example, on information and belief, Huawei

Defendants have committed acts of infringement in this judicial district, by among other

things, selling and offering for sale products that infringe the asserted patent, directly or

through intermediaries, as alleged herein.

       9.       Venue in the Western District of Texas is proper pursuant to 28 U.S.C.

§§1391 and 1400(b) because Huawei Technologies USA Inc. has committed acts of

infringement in this judicial district and has a regular and established places of business in

this judicial district and in Texas. As non-limiting examples, on information and belief,

Huawei Technologies USA Inc. has sold or offered to sell the Accused Products in this

judicial district and has employees or agents that operate Huawei equipment in this judicial

district, including at 189 CR 265, Georgetown, TX 78626, 1150 S Bell Blvd, Cedar Park,

TX 78613, 1399 S A W Grimes Blvd, Round Rock, TX 78664, 12335 IH 35, Jarrell, TX

76537, 1050 Rabbit Hill Rd, Unit #E, Georgetown, TX 78626, 1602 A W Grimes Blvd,

Round Rock, TX 78664, 4120 IH 35 N, Georgetown, TX 78626, 900 CR 272, Leander, TX

78641, 1950 Crystal Falls Pkwy, Leander, TX 78641, 1101 N Industrial Blvd, Round Rock,

TX 78681, 506 McNeil Rd, Round Rock, TX 78681, 3210 Chisholm Trail Rd, Round Rock,

TX 78681, 112 Roundville Ln, Round Rock, TX 78664, 202 Central Dr W, Georgetown,

TX 78628, 3595 E Hwy 29, Georgetown, TX 78626, 1402 W Welch St, Taylor, TX 76574,

3801 Oak Ridge Dr, Round Rock, TX 78681, 1957 Red Bud Ln #B, Round Rock, TX

78664, 6603 S Lakewood Dr, Georgetown, TX 78633, 500 W Front, Hutto, TX 78634.



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                          COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,860,512
       10.      Brazos re-alleges and incorporates by reference the preceding paragraphs

of this Complaint.

       11.      On December 28, 2010, the United States Patent and Trademark Office

duly and legally issued U.S. Patent No. 7,860,512 (“the ’512 Patent”), entitled “Method For

Managing Radio Resources And Radiosystem.” A true and correct copy of the ’512 Patent

is attached as Exhibit A to this Complaint.

       12.      Brazos is the owner of all rights, title, and interest in and to the ’512 Patent,

including the right to assert all causes of action arising under the ’512 Patent and the right

to any remedies for the infringement of the ’512 Patent.

       13.      Huawei makes, uses, sells, offers for sale, imports, and/or distributes in the

United States, including within this judicial district, products such as, but not limited to,

Huawei eLTE Integrated access solution (collectively, the “Accused Products”).

       14.    The Accused Products include Huawei eLTE Architecture, which includes

DBS3900 Distributed Base Station and eCore9300.

       15.      The accused product Huawei eLTE Integrated access solution provides

industry solutions that have scalable bandwidths and frequency band customization. The eLTE

Architecture consists of DBS3900 Distributed Base Station and eCore9300.




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https://e.huawei.com/us/solutions/business-needs/wireless-private-network/broadband-access-
new
          16.     eLTE Architecture comprises of two major components, DBS3900 and eCore

 9300. eCore product series include the MME, EPC-UGW, HSS, PCRF and another necessary

 service NEs.




    https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c



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        17.     The accused product consists of eCore9300 (i.e., an apparatus). eCore9300 is

 a hardware platform, supporting broadband access and trunking services via a virtualization

 feature. eCore can support up to 3000 eNodeBs.




https://e.huawei.com/en/products/wireless/elte-dsa/network-side-devices/ecore9300

        18.     eCore Product series are categorized in two parts which are eCore9300 &

 eCore9100. eCore9300 is majorly used in eLTE.

        19.     The eCore9300 uses Huawei OSTA5.0 (3 U) as the hardware platform. The

 OSTA5.0 comprises GPUB9 Board as a service component. GPUB9 board has CPU which

 uses Intel Broadwell-EP Xeon E5-2600 v4 CPUs (i.e., processor) as service processing units.

 GPUB9 boards can work in active/standby mode. GPUB9 Board provides Memory for eCore
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 9300. The memory provides DDR3 memory channels with capacity of 128 GB. The Storage

 for the board is equivalent to two 800 GB 2.5-inch SSD disks.




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c,

        20.     OSTA5.0 supports host software (i.e., computer program code) which

 provides resource management.




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c




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       21.     eCore product series include the MME, EPC-UGW, HSS, PCRF and another

 necessary                                  service                               NEs.




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c

       22.     EPC with eNodeB is an S1-C interface.




https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01
       23.     Transport resource overload control occurs at S1 Interface.




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https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01


        24.      Huawei eCore9300 with EPC supports Transport resource preemption.

 Transport Resource preemption allows higher priority services to preempt lower-priority

 services. (i.e., manage transport network resources).




https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01




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https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01


        25.      EPC connects with base stations through S1-C interface. EPC receives

 transport resource information which is in use for transport resource preemption. See below

 (i.e., receive transport capacity information on a transport network in a radio system)




https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c

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        26.      The eCore9300 uses Huawei OSTA5.0 (3 U) as the hardware platform. The

 OSTA5.0 comprises GPUB9 Board as a service component. GPUB9 board has CPU which

 uses Intel Broadwell-EP Xeon E5-2600 v4 CPUs (i.e., processor) as service processing units.




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c


        27.      The eLTE Architecture consists of DBS3900 Distributed Base Station which

 allows radio access on small to large eLTE wireless private network that provides services

 like video surveillance, data acquisition, etc. The Base station consists of a baseband unit and

 a remote radio unit.




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https://e.huawei.com/en/products/wireless/elte-trunking/network-element/dbs3900

        28.     The baseband unit is connected with a remote unit that receives and transmits




 signals.

https://www.scribd.com/document/203697649/Dbs3900-Lte-Product-Description,


        29.     Different RRUs are used depending upon the storage and coverage area. For

 example, RRU3928 is configured with BBU3900 in DBS3900 as shown in Error! Reference

 source not found..




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https://www.scribd.com/doc/97584371/RRU3928-Description-V1-2



        30.      RRU 3928 is an outdoor remote radio unit and has a 3928 dual-transmitter

 (i.e., radio transmission) and dual-receiver structure (i.e., radio reception) which supports

 higher output power and carrier capacity.




https://www.scribd.com/doc/97584371/RRU3928-Description-V1-2

                                                   13
        31.      Huawei accused product architecture comprises a connection between

 eNodeB and eCore. eCore9300 comprises Host Software which provides resource

 management (i.e., a radio resource management unit configured to manage the radio resources

 between at least one base station and the user equipment). eCore in combination with Host

 Software receives the capacity associated with base stations. (i.e., configured to receive radio

 capacity information on the radio cell).




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c




https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c161c


        32.      EPC in eCore Architecture provides transport resource management. (i.e.,

 transport resource management unit). S1 is the interface between EPC and eNodeB. Transport

 capacity is regularly measured on the interface (i.e., transport capacity limit for a radio cell

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based on the transport capacity information). If the transport capacity is exceeding, network

resources are overloaded, the eNodeB releases the services that can be preempted and have

low priorities to ensure the quality of the high priority services (i.e., signal the transport

capacity limit to at least one base station to adjust the radio capacity information based on the

transport capacity limit). .




 https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01




 https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01




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https://www.scribd.com/doc/298261608/Transport-Resource-Management-ERAN-8-1-01

        33.       Hence, once the capacity is changed, the newly adjusted radio resource

 capacity is sent to host software to provide resource management again for the eCore

 Architecture (i.e., to signal the adjusted radio capacity information to the radio resource

 management unit to manage radio resources of the radio network by using the signaled

 adjusted radio capacity information).



        34.       In view of preceding paragraphs, each and every element of at least claim 22

 of the ’512 Patent is found in the Accused Products.

        35.       Huawei has and continues to directly infringe at least one claim of the ’512

 Patent, literally or under the doctrine of equivalents, by making, using, selling, offering for

 sale, importing, and/or distributing the Accused Products in the United States, including

 within this judicial district, without the authority of Brazos.




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          36.      Huawei has received notice and actual or constructive knowledge of the ’512

Patent since at least the date of service of this Complaint.

          37.      Since at least the date of service of this Complaint, through its actions,

Huawei has actively induced product makers, distributors, retailers, and/or end users of the

Accused Products to infringe the ’512 Patent throughout the United States, including within

this judicial district, by, among other things, advertising and promoting the use of the Accused

Products in various websites, including providing and disseminating product descriptions,

operating manuals, and other instructions on how to implement and configure the Accused

Products. Examples of such advertising, promoting, and/or instructing include the documents

at:

      •    https://e.huawei.com/us/solutions/business-needs/wireless-private-
           network/broadband-access-new
      •    https://e.huawei.com/se/material/wireless/mccs/1464e39cd04b4b29810f9575b59c
           161c,
      •    https://www.scribd.com/doc/298261608/Transport-Resource-Management-
           ERAN-8-1-01,
      •    https://e.huawei.com/en/products/wireless/elte-trunking/network-element/dbs3900
      •    https://www.scribd.com/document/203697649/Dbs3900-Lte-Product-Description
      •    https://www.scribd.com/doc/97584371/RRU3928-Description-V1-2

          38.      Since at least the date of service of this Complaint, through its actions, Huawei

has contributed to the infringement of the ’512 Patent by having others sell, offer for sale, or

use the Accused Products throughout the United States, including within this judicial district,

with knowledge that the Accused Products infringe the ’512 Patent. The Accused Products are

especially made or adapted for infringing the ’512 Patent and have no substantial non-

infringing use. For example, in view of the preceding paragraphs, the Accused Products

contain functionality which is material to at least one claim of the ’512 Patent.

                                             JURY DEMAND
          Brazos hereby demands a jury on all issues so triable.

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                                  REQUEST FOR RELIEF

         WHEREFORE, Brazos respectfully requests that the Court:

         (A)     Enter judgment that Huawei infringes one or more claims of the ’512 Patent

  literally and/or under the doctrine of equivalents;

         (B)     Enter judgment that Huawei has induced infringement and continues to

  induce infringement of one or more claims of the ’512 Patent;

         (C)     Enter judgment that Huawei has contributed to and continues to contribute

  to the infringement of one or more claims of the ’512 Patent;

         (D)     Award Brazos damages, to be paid by Huawei in an amount adequate to

  compensate Brazos for such damages, together with pre-judgment and post-judgment

  interest for the infringement by Huawei of the ’512 Patent through the date such judgment

  is entered in accordance with 35 U.S.C. §284, and increase such award by up to three times

  the amount found or assessed in accordance with 35 U.S.C. §284;

         (E)     Declare this case exceptional pursuant to 35 U.S.C. §285; and

         (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

  additional relief as is deemed appropriate by this Court.



Dated: June 17, 2020                           Respectfully submitted,

                                              /s/ James L. Etheridge

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